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   SO ORDERED.


   SIGNED this 21 day of August, 2019.

                                                  ___________________________________________
                                                  Stephani W. Humrickhouse
                                                  United States Bankruptcy Judge
_________________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              WILMINGTON DIVISION


      IN RE:                                         CASE NUMBER: 19-03350-5-SWH
      ERNESTINE BOWMAN
      PO BOX 855
      WILMINGTON, NC 28402
      DEBTOR                                         CHAPTER 13


                           ORDER FOR TURNOVER OF VEHICLE

            THIS MATTER coming on to be heard, and being heard, before the above-signed
      Bankruptcy Judge upon the Debtor’s Motion for Turnover of Vehicle.

              IT IS HEREBY ORDERED that One Main Financial Group, LLC (“One Main”)
      return the Debtor’s 2010 GMC Terrain within ten (10) days of the date of this Order.

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